






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00106-CV






Charlie Simpson, Appellant


v.


Christina Simpson, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 423RD JUDICIAL DISTRICT

NO. 423-515, HONORABLE CHRISTOPHER DARROW DUGGAN, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Charlie Simpson filed his notice of appeal on February 23, 2010.  On
June&nbsp;28, 2010, the Clerk of this Court sent notice to appellant requesting that appellant make
arrangements for the payment of the clerk's record and submit a status report regarding this appeal,
and that his appeal would be dismissed for want of prosecution if he did not respond to this Court
by July 8, 2010.  To date, appellant has not responded to this Court's notice.  Accordingly, we
dismiss the appeal for want of prosecution.  See Tex. R. App. P. 37.3(b), 42.3(b), (c).

						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Prosecution

Filed:   August 26, 2010


